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                      IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE


In re:                                              )        Chapter 11
                                                    )


W. R. GRACE & CO., et al.,                          )        Case No. 01-01139 (JKF)
                                                    )        Jointly Administered
                       Debtors.                     )

                                  CERTIFICATE OF SERVICE


               I, Kathleen P. Makowski, hereby certify that on the 4y of August 2011, I

caused a copy of the following document to be served on the individuals on the attached service

list in the manner indicated:

               NOTICE OF MOTION FOR ENTRY OF AN ORDER PROVIDING FOR
               THE RETURN OF CERTAIN PLEADINGS AND AN ORDER FILED
               UNDER SEAL TO DEBTORS’ COUNSEL FOR DESTRUCTION;

               MOTION FOR ENTRY OF AN ORDER PROVIDING FOR THE RETURN
               OF CERTAIN PLEADINGS AND AN ORDER FILED UNDER SEAL TO
               DEBTORS’ COUNSEL FOR DESTRUCTION; AND

               [PROPOSED] ORDER PROVIDING FOR THE RETURN OF CERTAIN
               PLEADINGS AND AN ORDER FILED UNDER SEAL TO DEBTORS’
               COUNSEL FOR DESTRUCTION.
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